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        Exhibit FF
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                         UNITED STATES COURT OF APPEALS
                              FOR THE THIRD CIRCUIT


                           Nos. 15-2206; 15-2217, 15-2230, 15-2234
                                  15-2272, 15-2273, 15-2294



                        IN RE: NATIONAL FOOTBALL LEAGUE
                      PLAYERS’ CONCUSSION INJURY LITIGATION


                     APPELLANTS RAYMOND ARMSTRONG, ET AL
                           (“ARMSTRONG OBJECTORS”)


         APPELLANTS’ OPPOSITION TO CLASS PLAINTIFFS-APPELLEES’
                      MOTION TO EXPEDITE APPEALS


       Appellants, Raymond Armstrong; Nathaniel Newton, Jr.; Larry Brown; Kenneth Davis;

Michael McGruder; Clifton L. Odom; George Teague; Drew Coleman; Dennis DeVaughn; Alvin

Harper; Ernest Jones; Michael Kiselak; Jeremy Loyd; Gary Wayne Lewis; Lorenzo Lynch;

Hurles Scales, Jr.; Gregory Evans; David Mims; Evan Oglesby; Philip E. Epps; Charles L.

Haley, Sr.; Kevin Rey Smith; Darryl Gerard Lewis; Curtis Bernard Wilson; Kelvin Mack

Edwards, Sr.; Dwayne Levels; Solomon Page; Tim McKyer; Larry Barnes; James Garth Jax;

William B. Duff; Mary Hughes; Barbara Scheer; and Willie T. Taylor; hereby submit this

opposition to the Class Plaintiffs’ Motion to Consolidate and Expedite Appeals filed on May 26,

2015. Appellants do not oppose the Motion to Consolidate Appeals.

       In addition, Appellants object to Class Plaintiffs’ suggestion that the parties forego the

FRAP 33 mediation process as this is required by the Rules and is a very important process.

       Plaintiffs-Appellees did not confer with the Raymond Armstrong Appellants prior to

filing their motion. The proposed opening brief due date of July 10, 2015, is not acceptable to
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Appellants, as it is only six weeks away and the cases have not been consolidated yet, nor has the

record been completed.

       Appellants note for the record that Plaintiffs-Appellees have not presented any reasons

justifying expediting the briefing in this case. For example, they state that "some appellants are

individuals who never filed a case in their individual capacity." The settlement, however,

includes them in the same class as the currently injured, and releases their future, unripe claims

for no consideration. This is not a valid reason for expediting briefing.

       The conflict between the truly injured and those improperly included in the class is

entirely of Plaintiffs' own making. Plaintiffs could have limited the class to former players

currently suffering from diseases caused by concussions, and negotiated a settlement that made

immediate payments to everyone in the class, but class counsel and the NFL chose not to go this

route, so these Appellants should not be penalized. The Court should deny the Motion for

Expedited Appeal and make all parties follow FRAP 33.



Date: June 1, 2015

                                              Respectfully submitted,

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                                COUNSEL FOR THE ARMSTRONG OBJECTORS



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed via the ECF

filing system on June 1, 2015, and that as a result electronic notice of the filing was served upon

all attorneys of record.



                                      /s/ Richard L. Coffman
                                      Richard L. Coffman
